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Un1ted States Dlstr1ct Court -
soUTHERN ` DISTRICT oF TEXAS APR 27 2013
McALLEN DIVISION

  
 

     

 

 

UNITED STATES OF AMERICA MJ° g'
V_ y chlvllNAL colleLAlNT
Alicia Lerma PRlNc/PAL h Case Number:
YOB: 1991 '
united states __ lVl-1 8-(\9"-` -NI
(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and cor)rect to the best of my

 

knowledge and belief. On or about April 26. 2018 \ in l_'l'ld_€lg_° County, m
the Southern District of Texas defendants(s) did,

(Track Statulory Language of Ojj”ense)

knowing or in reckless disregard of the fact that Miqueas Acosta-Herrera and Domingo Astello-Jasso,
citizens of Mexico, along with fifteen (15) other undocumented aliens for a total of seventeen (17), who had
entered the United States in violation of law, did knowingly transport, or move or attempt to transport said
aliens in furtherance of such violation of law within`the United States, that is, from a location near Donna,
Texas to the point of arrest near Donna, Texas,

in violation of Title 8 United States Code, Section(s) 1324(a)(1)(A)(ii) FELONY
l further state that l am a(n) U.S. Senior Border Patrol Agent and that this complaint is based on the
following facts:

On April 26, 2018, Border Patrol Agents conducting surveillance observed a raft with multiple subjects
crossing the Rio Grande River in Donna, Texas. Moments later, the agents observed approximately 15
subjects running from the river levee towards a palm grove. Another agent observed a silver Kia Soul and a
Gold Chevro|et Tahoe traveling in tandem towards the location where the subjects were last seen running.
The agent was able to observe several individuals boarding into the KlA. Shortly thereafter, the agent
observed the Tahoe and Kia traveling north towards Mi|itary Highway.

SEE ATTACHED
H\m\»¢
“6`

 

 

 

 

\ \,¢/: nolo .
Contln ed on the ached sheet and made a part of this complaint Yes No
Sig%)f Comp|ainant
Sa|vador Mendez Senior Patrol Agent
Sworn to before me and subscribed in my presence, Pn'nted Name of Comp|ainant
April 27, 2018 3 5 7 2 / '1-\,` at lvchllen, Texas
Date 7 City and State

Peter E. Ormsby , U. S. Magistrate Judge W<- g

 

 

Name and Tit|e of Judicial Officer Si§nature of Judicial Officer /

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souTHERN DlSTRlcT oF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIN||NAL COlVlPLA|NT:

lin-1adi -lvl

RE: Alicia Lerma

CONTINUAT|ON:

A nearby agent responded and observed the aforementioned Tahoe and Kia traveling north towards l\/lilitary
Highway near his location. The agent deployed a controlled tire deflation device, successfully deflating
multiple tires of the Tahoe. The KlA was observed slowing down and attempting to hide behind a barn. An
agent proceeded to get behind the Tahoe and activated his vehicle's emergency equipment in an attempt to
conduct a vehicle stop. The Tahoe continued to travel north, making several turns, eventually coming to a
stop near the intersection of Farm to Market Road 907 and Anaya Road in Alamo, Texas. Agents observed
several individuals exit the Tahoe and abscond into the nearby brush. After a search of the area, agents
apprehended 10 subjects determined to be illegally present in the United States. During a field interview,
several illegal aliens stated the driver ran and boarded into a White car. Agents were not able to locate the
driver.

|\/lobile agents responded to the barn and located the KlA. The agents observed the KlA begin to drive away
from the agents onto l\/|ilitary Highway. Agents proceeded to follow the KlA and observed it was occupied
over capacity. Agents activated their vehicles emergency equipment and conducted a vehicle stop near the
intersection of Valley View Road and l\/|ilitary Highway in Donna, Texas. As agents approached the K|A, they
observed a subject in the rear cargo compartment, four subjects sitting in the rear passenger seat', one
subject lying across the rear floor board, a front passenger, and the driver, Who was later identified as Alicia
Lerma, a United States Citizen.

The passengers were determined to be illegally present in the United States. All subjects were placed under
arrest and transported to the Border Patrol Station for processing.

PRINCIPAL $TATEMENT y
Alicia LER|V|A, a citizen of the United States, was read her lV|iranda Rights and agreed to provide a statement.

LERl\/lA stated her friend asked her to pick up several family members to give them a ride. LERl\/|A stated she
was not going to be paid for picking them up. LERlVlA claimed she did not know the individuals she picked up
were illegal aliens. LERl\/lA stated her friend instructed her to follow a brown Tahoe to the location where
she picked up the illegal aliens. LERl\/|A claimed she did not know the driver of the Tahoe and once she picked
up the illegal aliens, the illegal aliens instructed her to drive. LERl\/|A indicated she then stopped when she
saw Border Patrol and realized her friend had set her up to pick up illegal aliens.

\
MA TERIAL WITNE$$ 1
l\/liqueas ACOSTA-Herrera, a citizen of lV|exico, was read his lV|iranda Rights and agreed to provide a
statement Without an attorney present. `

ACOSTA stated he made his smuggling arrangements and was to pay $500 (USD). ACOSTA claimed he
crossed the river With several other individuals. ACOSTA stated a foot guide informed them two trucks Would
arrive to pick them up. ACOSTA stated he boarded into a cream-colored Tahoe and sat behind a male driver.
After the Tahoe departed, ACOSTA claimed moments later the TAHOE came to a stop, everyone exited the
Tahoe and ran and Was later arrested by Border Patrol.

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SOUTHERN DlSTR|CT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CR|MlNAL COlVlPLAlNT:

ivl-1a-‘r`;}{ -lvl

RE: Alicia Lerma

CONT|NUAT|ON:

MATERIAL WITNE$S 2
Domingo ASTELLO-Jasso, a citizen of Mexico, was read his lV|iranda Rights and agreed to provide a
statement.

ASTELLO stated he made his smuggling arrangement and was to pay 2000 l\/lexican Pesos. ASTELLO stated
he crossed the river with several other individuals. ASTELLO claimed a foot guide instructed them to run
through the brush until they came up to palm trees and two vehicles would arrive to pick him up. ASTELLO
stated he boarded into a silver car and sat behind the passenger seat. ASTELLO claimed he and several
other individuals instructed the driver to stop and moments later, Border Patrol stopped them. ASTELLO
stated he saw Border Patrol extract the driver who was a female.

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